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                          UNITED STATES DISTRICT COURT
   8
                         CENTRAL DISTRICT OF CALIFORNIA
   9                           SOUTHERN DIVISION
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       RYOO DENTAL, INC. d/b/a RYOO            )       CASE NO. 8:18-cv-02189-AG-ADS
 11    DENTAL, individually and on behalf of )
       all others similarly situated,          )
 12                                            )       ORDER OF DISMISSAL
                                   Plaintiff,  )
 13                                            )       Hon. Andrew J. Guilford
              v.                               )
 14                                            )
       NEXTASSURE INC. d/b/a                           Complaint filed: November 29, 2018
       NEXTASSURE INSURANCE                    )
 15
       SERVICES, ROOHI AKHTAR, ASIM )
 16    ASHARY, and AKHTAR HASSAN, )
                                               )
 17                                Defendants. )
                                               )
 18
 19
             The Court, having considered the Stipulation for Dismissal (the
 20
       “Stipulation”), and good cause appearing thereof, ORDERS AS FOLLOWS:
 21
             1. The Stipulation is GRANTED.
 22
             2. The above-entitled action is hereby dismissed with prejudice as to Plaintiff
 23
       Ryoo Dental, Inc. d/b/a/ Ryoo Dental (“Plaintiff”), in his individual capacity against
 24
       NextAssure Inc. d/b/a NextAssure Insurance Services, Roohi Akhtar, Asim Ashary,
 25
       and Akhtar Hassan (“Defendants”).
 26
             3. The above-entitled action is hereby dismissed without prejudice as to all
 27
       class claims alleged against Defendant.
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                                                 -1-
                                                                          ORDER OF DISMISSAL
                                                                   CASE NO. 8:18-cv-02189-AG-ADS
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   1         4. Each party shall bear their own attorney’s fees, costs and expenses.
   2         5. The Court will retain jurisdiction to enforce an agreement between the
   3   Parties.
   4         SO APPROVED.
   5
   6   Dated: June 12, 2019                  ________________________________
   7                                         Hon. Andrew J. Guilford
                                             United States District Court Judge
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                                                                      ORDER OF DISMISSAL
                                                               CASE NO. 8:18-cv-02189-AG-ADS
